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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                      Case Number: 21-10009-CIV-MARTINEZ-BECERRA

  TIM RANDOLPH DANIELS,

         Plaintiff,

  v.

  ERIC SUTTON, EXECUTIVE DIRECTOR OF
  THE FLORIDA FISH AND WILDLIFE
  CONSERVATION COMMISSION, in his
  official capacity,

        Defendant.
  _____________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THE MATTER was referred to the Honorable Jacqueline Becerra, United States

  Magistrate Judge, for a Report and Recommendation on Plaintiff’s Motion to Correct Record,

  Withdraw Stay of Discovery, and Order Parties to Confer (“Motion to Correct Record”), (ECF No.

  61); and Plaintiff’s Motion to Amend Caption (“Motion to Amend”), (ECF No. 67). Magistrate

  Judge Becerra filed a Report and Recommendation, (ECF No. 86), recommending that (a) the

  Motion to Correct Record be denied; and (b) that the Motion to Amend be granted in part and

  denied in part. (Id.). The Court has reviewed the entire file and notes that no objections have

  been filed. After careful consideration, it is

         ADJUDGED that United States Magistrate Judge Becerra’s Report and Recommendation,

  (ECF No. 86), is AFFIRMED and ADOPTED. Accordingly, it is further ADJUDGED that:

         1.      Plaintiff’s Motion to Correct Record, (ECF No. 61), is DENIED.

         2.      Plaintiff’s Motion to Amend Caption, (ECF No. 67), is GRANTED in part and

  DENIED in part. The Motion to Amend Caption is granted as to Plaintiff’s request to remove
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  Florida Keys Commercial Association, LLC from the case caption, and denied as to Plaintiff’s

  request to add defendants.

         3.      The caption of the case should reflect that Tim Randolph Daniels, individually, is

  the sole Plaintiff in this matter and that Eric Sutton, Executive Director of the Commission, in his

  official capacity, is the sole Defendant in this matter.

         4.      The Clerk is directed to terminate Defendant State of Florida Fish and Wildlife

  Conservation Commission, individual members in their official capacities from this action.

         DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day of December, 2021.




                                                         ____________________________________
                                                         JOSE E. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Becerra
  All counsel of record
